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                                                                                                                     CLERK OF SUPERIOR COURT
                                                                                                                     BARTOW COUNTY, GEORGIA
                                                                                                                    SUCV2018000855
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                              IN THE SUPERIOR COURT OF BARTOW COUNTY
                                                                  TY
                                          STATE OF GEORGIA


SPRINGFIELD                                                                          )
CONSTRUCTION, INC.,                                                                  )
                                                                                     )
                Plaintiff,                                                           )
                                                                                     )         CIVIL ACTION
v.                                                                                   )
                                                                                     )         FILE NO. 18-CV-855
PREMIER CHOICE REALTY                                                                )
AND INVESTMENTS, LLC,                                                                )
                                                                                     )
                Defendant.                                                           )

                                 DEFENDANT PREMIER CHOICE REALTY AND
                                  INVESTMENTS, LLC’S VERIFIED ANSWER,
                                AFFIRMATIVE DEFENSES, AND COUNTERCLAIM

                Premier Choice Realty and Investments, LLC (hereinafter “Premier”),

Defendant herein, hereby responds to Complaint in Equity for Specific Performance;

for Declaratory Judgment; and Action for Damages for Unjust Enrichment

(hereinafter “Complaint”) asserted against Premier by Springfield Construction, Inc.

(hereinafter “Springfield”), Plaintiff herein.

                                                                                   ANSWER

                                                                                 FIRST DEFENSE

                Springfield’s claims are barred in whole or in part because Springfield has

failed to state a claim upon which relief can be granted.
                                                                                                                    EXHIBIT

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                                                                             SECOND DEFENSE

                Springfield’s claims are barred in whole or in part because Premier has not

breached any obligations owing to Springfield imposed by law or contract.

                                                                                 THIRD DEFENSE

                Springfield’s claims are barred in whole or in part because Premier is not

indebted to Springfield.

                                                                             FOURTH DEFENSE

                Springfield’s claims are barred in whole or in part by the doctrine of estoppel.

                                                                                 FIFTH DEFENSE

                Springfield’s claims are barred in whole or in part by the doctrine of waiver.

                                                                                 SIXTH DEFENSE

                Springfield’s claims are barred in whole or in part by the doctrine of unclean

hands.

                                                                           SEVENTH DEFENSE

                Springfield’s claims are barred in whole or in part by Springfield’s failure to

mitigate damages.

                                                                                 EIGHTH DEFENSE

                Springfield’s claims are barred in whole or in part by failure of consideration.




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                                                                                 NINTH DEFENSE

                Springfield’s claims are barred in whole or in part because conditions

precedent were not satisfied. Specifically, the Lot Release Commitment (hereinafter

the “Agreement”) stated a condition precedent “upon the sale of Lot 118” and the

payment by Springfield of “a lot release price of $25,000.00.” The sale of Lot 118

did not occur, and Springfield did not pay the lot release price of $25,000.00.

Therefore, Premier was never required to release its lien upon Lot 118.

                                                                                 TENTH DEFENSE

                Springfield’s claims are barred in whole or in part because they are subject to

setoff.

                                                                         ELEVENTH DEFENSE

                Springfield’s claims are barred in whole or in part because they are subject to

recoupment.

                                                                           TWELFTH DEFENSE

                Springfield’s claims are barred in whole or in part by Springfield’s own

negligence.

                                                                      THIRTEENTH DEFENSE

                Springfield’s claims are barred in whole or in part by Springfield’s own

tortious conduct.



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                                                                     FOURTEENTH DEFENSE

                Springfield’s claims are barred in whole or in part because none of the alleged

wrongs by Premier are the cause in fact or the proximate cause of damage to

Springfield.

                                                                         FIFTEENTH DEFENSE

                Springfield’s claims are barred in whole or in part because Springfield has

suffered no damages.

                                                                        SIXTEENTH DEFENSE

                Springfield’s claims are barred in whole or in part because the Agreement is

unenforceable and void for vagueness.

                                                                   SEVENTEENTH DEFENSE

                Premier responds to the numbered paragraphs of the Complaint as follows:

                                                                                  1.

                Premier admits that it is an Alabama limited liability company that is qualified

to do business in this state. Premier denies each of the remaining averments

contained within Paragraph 1 of the Complaint.

                                                                                  2.

                Premier admits that this Court has personal jurisdiction over it. Premier

denies the remaining averments contained within Paragraph 2 of the Complaint.



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                                                                                  3.

                Premier admits the averments contained within Paragraph 3 of the Complaint.

                                                                                  4.

                Premier denies each of the averments contained within Paragraph 4 of the

Complaint.

                                                                       BACKGROUND FACTS

                                                                                  5.

                Premier admits that a Deed to Secure Debt, Book No. 2903 and Page Nos.

302-305, was filed and recorded in the Superior Court of Bartow County, Georgia

on March 3, 2017 and that said Deed is the best evidence of what it states. Premier

denies each of the remaining averments contained within Paragraph 5 of the

Complaint.

                                                                                  6.

                Premier admits the averments contained within Paragraph 6 of the Complaint.

                                                                                  7.

                Premier admits that Exhibit A to the Complaint is a true and correct copy of

the Agreement and is the best evidence of what it states. Premier denies each of the

remaining averments contained within Paragraph 7 of the Complaint.




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                                                                                  8.

                Premier admits that a Deed Under Power of Sale, Book No. 2993 and Page

Nos. 280-283, was filed and recorded in the Superior Court of Bartow County,

Georgia on April 3, 2018 and said Deed is the best evidence of what it states.

Premier further admits that it foreclosed on its Deed to Secure Debt to acquire title

to the real property described in the Deed Under Power of Sale, Book No. 2993 and

Page Nos. 280-283. Premier denies each of the remaining averments contained

within Paragraph 8 of the Complaint.

                                                                                  9.

                Premier admits that a Quitclaim Deed in Satisfaction, Book No. 3012 and

Page Nos. 123-125, was filed and recorded in the Superior Court of Bartow County,

Georgia on June 14, 2018 and that said Deed is the best evidence of what it states.

Premier denies each of the remaining averments contained within Paragraph 9 of the

Complaint.

                                                                                  10.

                Premier denies each of the averments contained within Paragraph 10 of the

Complaint.

                                                                                  11.

                Premier denies each of the averments contained within Paragraph 11 of the



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Complaint.

                                                                                  12.

                Premier admits that Premier is the rightful owner of Lot 118, Premier has

entered into a contract to sell Lot 118, which it has the legal right to do, and

Springfield has wrongfully and tortiously filed and recorded an Affidavit and a

Notice of Lis Pendens upon the subject property to prevent the sale of Lot 118.

Premier denies each of the remaining averments contained within Paragraph 12 of

the Complaint.

                                                                                  13.

                On information and belief, Premier denies each of the averments contained

within Paragraph 13 of the Complaint.

                                                                                  14.

                On information and belief, Premier denies that Springfield constructed the

home on Lot 118. Premier is without knowledge or information sufficient to form a

belief as to the truth of the remaining averments contained within Paragraph 14 of

the Complaint, and for that reason, can neither admit nor deny same.

                                                                                  15.

                On information and belief, Premier denies each of the averments contained

within Paragraph 15 of the Complaint.



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                                                                                  16.

                Premier is without knowledge or information sufficient to form a belief as to

the truth of the averments contained within Paragraph 16 of the Complaint, and for

that reason, can neither admit nor deny same.

                                                                                  17.

                Premier admits that Lot 118 and the house located therein were worth more

than $150,000.00 before Springfield wrongfully filed an Affidavit and Notice of Lis

Pendens on the subject property. Premier is without knowledge or information

sufficient to form a belief as to the truth of the remaining averments contained within

Paragraph 17 of the Complaint, and for that reason, can neither admit nor deny same.

                                                                                  18.

                Premier admits it has entered into a contract to sell Lot 118 and the house

located therein to Stacey Gibson for $182,900.00. Premier is without knowledge or

information sufficient to form a belief as to the truth of the remaining averments

contained within Paragraph 18 of the Complaint, and for that reason, can neither

admit nor deny same.

                                         COMPLAINT FOR SPECIFIC PERFORMANCE

                                                                                  19.

                In response to Paragraph 19 of the Complaint, all paragraphs of this Defendant



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Premier Choice Realty and Investments, LLC’s Verified Answer, Affirmative

Defenses, and Counterclaim (hereinafter “Answer and Counterclaim”) are hereby

incorporated into this paragraph by this reference as if fully restated verbatim herein.

                                                                                  20.

                Premier denies each of the averments contained within Paragraph 20 of the

Complaint.

                                                                                  21.

                Premier is without knowledge or information sufficient to form a belief as to

the truth of the averments contained within Paragraph 21 of the Complaint, and for

that reason, can neither admit nor deny same.

                                                                                  22.

                Premier denies each of the averments contained within Paragraph 22 of the

Complaint.

                                                                                  23.

                Premier denies each of the averments contained within Paragraph 23 of the

Complaint.

                                                                                  24.

                Premier denies each of the averments contained within Paragraph 24 of the

Complaint.



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                                                        FOR DECLARATORY JUDGMENT

                                                                                    25.

                In response to Paragraph 25 of the Complaint, all paragraphs of this Answer

and Counterclaim are hereby incorporated into this paragraph by this reference as if

fully restated verbatim herein.

                                                                                    26.

                Premier denies each of the averments contained within Paragraph 26 of the

Complaint.

                                                                                    27.

                Premier denies each of the averments contained within Paragraph 27 of the

Complaint.

                                                                FOR UNJUST ENRICHMENT

                                                                                    28.

                In response to Paragraph 28 of the Complaint, all paragraphs of this Answer

and Counterclaim are hereby incorporated into this paragraph by this reference as if

fully restated verbatim herein.

                                                                                    29.

                On information and belief, Premier denies each of the averments contained

within Paragraph 29 of the Complaint.



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                                                                                    30.

                Premier denies each of the averments contained within Paragraph 30 of the

Complaint.

                                                                                    31.

                Premier denies each of the averments contained within Paragraph 31 of the

Complaint.

                                                                                    32.

                Premier denies each of the averments contained within Paragraph 32 of the

Complaint.

                                                                                    33.

                Premier denies each of the averments contained within Paragraph 33 of the

Complaint.

                         FOR ATTORNEY FEES AND EXPENSES OF LITIGATION

                                                                                    34.

                In response to Paragraph 34 of the Complaint, all paragraphs of this Answer

and Counterclaim are hereby incorporated into this paragraph by this reference as if

fully restated verbatim herein.

                                                                                    35.

                Premier denies each of the averments contained within Paragraph 35 of the



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Complaint.

                                                                                    36.

                Premier denies each of the averments contained within Paragraph 36 of the

Complaint.

                                                                                    37.

                Premier denies each of the averments contained within Paragraph 37 of the

Complaint.

                                                                    NOTICE OF LIS PENDENS

                                                                                    38.

                Premier admits that Springfield has wrongfully filed a Notice of Lis Pendens

on the subject property, but denies that Springfield has (or had) the legal or equitable

right to do so. Premier denies each of the remaining averments contained within

Paragraph 38 of the Complaint.

                                                                                    39.

                Premier denies that it is indebted to or liable to Springfield in any amount

whatsoever or for any equitable relief whatsoever. To the contrary, Springfield is

indebted to and liable to Premier, as set forth in the below Counterclaim.

                                                                                    40.

                All averments contained within the Prayer for Relief of the Complaint are



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hereby denied by Premier.

                                                                                        41.

                All averments contained in the Complaint which are not expressly admitted

or denied hereinabove are hereby denied by Premier

                                                                                        42.

                WHEREFORE, Premier hereby demands a jury trial on all issues triable to a

jury in this action and hereby respectfully requests that the Court (a) deny all relief

requested by Springfield; (b) enter judgment on all counts and claims of Springfield

and on all defenses and denials of Premier in favor of Premier; (c) award Premier its

reasonable attorneys’ fees, litigation expenses, and costs in defending this action;

and (d) award Premier such other and further relief as this Court deems just and

proper.

                                                                                 COUNTERCLAIM

                                                                                        43.

                Premier hereby asserts the following Counterclaim in this action against

Springfield.

                                                                                        44.

                Springfield is a Georgia corporation with its principal office and its registered

office at 12 Forest Hill Drive SW, Cartersville, Bartow County, Georgia 30120.



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                                                                                    45.

                Premier is an Alabama limited liability company with its principal office

address at 6925 Cottage Hill Road, Suite C, Mobile, Alabama 36695. Premier’s sole

manager and member, Dr. Chykeetra Maltbia, is a resident of Alabama.

                                                                                    46.

                The amount in controversy in this action exceeds $75,000.00.

                                                                                    47.

                Venue and jurisdiction are proper in the United States District Court for the

Northern District of Georgia, Rome Division.

                                                                                 FACTS

                                                                                    48.

                The real property directly at issue in this case is known as Lot 118 of the

Monticello Estates Subdivision, Phase 1, Bartow County, Georgia (hereinafter “Lot

118”).

                                                                                    49.

                In mid-2016, KDM Construction & Development, LLC (hereinafter “KDM”)

owned the Monticello Estates Subdivision, including Lot 118.

                                                                                    50.

                In mid-2016, the Monticello Estates Subdivision, including Lot 118, became



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encumbered by two security interests granted by KDM: (1) a first lien in favor of

Gravity Segregation, LLC (hereinafter “Gravity”), and (2) a second lien in favor of

Premier.

                                                                                    51.

                The first lien on the Monticello Estates Subdivision to Gravity is evidenced

by a Deed to Secure Debt, Book No. 2855 and Page Nos. 193-201, filed and recorded

in the Superior Court of Bartow County, Georgia on August 16, 2016, a true and

correct copy of which is attached hereto as Exhibit 1.

                                                                                    52.

                The second lien on the Monticello Estates Subdivision to Premier is evidenced

by a Deed to Secure Debt, Book No. 2855 and Page Nos. 202-206, filed and recorded

in the Superior Court of Bartow County, Georgia on August 16, 2016, a true and

correct copy of which is attached hereto as Exhibit 2.

                                                                                    53.

                On March 3, 2017, KDM granted a Warranty Deed to Springfield for Lot 118,

which was filed and recorded in the Superior Court of Bartow County, Georgia,

Book No. 2903 and Page No. 301, a true and correct copy of which is attached hereto

as Exhibit 3.




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                                                                                    54.

                The Warranty Deed from KDM to Springfield for Lot 118 states that it is

subject to the Deed to Secure Debt from KDM to Gravity and the Deed to Secure

Debt from KDM to Premier.

                                                                                    55.

                KDM defaulted on the loans from Gravity and Premier.

                                                                                    56.

                On July 31, 2017, after Premier began proceedings to foreclose on the

Monticello Estates Subdivision, including Lot 118, KDM filed for Chapter 11

bankruptcy in the United States District Court for the Northern District of Georgia,

thereby imposing an automatic stay on Premier’s foreclosure.

                                                                                    57.

                On September 8, 2017, the bankruptcy court dismissed KDM’s petition for

Chapter 11 bankruptcy.

                                                                                    58.

                On November 7, 2017, KDM again filed for Chapter 11 bankruptcy in the

United States District Court for the Northern District of Georgia, thereby again

imposing an automatic stay on Premier’s foreclosure.




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                                                                                    59.

                On January 30, 2018, the bankruptcy court entered a Consent Order

Dismissing Case (Subject to Objections), in which the bankruptcy court granted

Premier’s motion to dismiss KDM’s petition for Chapter 11 bankruptcy with

prejudice and enjoined KDM from filing another bankruptcy case for a period of 180

days from February 12, 2018, subject to objections by parties in interest. A true and

correct copy of said Consent Order Dismissing Case (Subject to Objections) is

attached hereto as Exhibit 4.

                                                                                    60.

                On February 9, 2018, Springfield filed an Objection to Dismissal of Case with

the bankruptcy court, a true and correct copy of which is attached hereto as Exhibit

5.

                                                                                    61.

                Springfield refused to withdraw its Objection to Dismissal of Case unless and

until Premier entered into the Agreement.

                                                                                    62.

                On February 13, 2018, Premier and Springfield entered into the Agreement, a

true and correct copy of which is attached hereto as Exhibit 6.




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                                                                                    63.

                The Agreement provides as follows in relevant part:

                KDM executed and delivered to Premier that certain “Deed to Secure
                Debt” recorded on the records of the Clerk of Superior Court of Bartow
                County, Georgia at Book 2855, Page 202 (the “Security Deed”)
                whereby KDM conveyed certain real property (the “Property”);

                                                                                 ***

                Premier covenants and agrees that in the event Springfield withdraws
                its Objection and the Bankruptcy Court dismisses the Bankruptcy Case
                pursuant to the terms of the original Dismissal Order, then Premier shall
                release its lien upon Lot 118 (but only Lot 118) pursuant to the Security
                Deed upon the sale of Lot 118 in consideration for a lot release price of
                $25,000.00 (the “Lot Release Price”). Only a single Lot Release Price
                shall be due in that such Lot Release Price shall not be in addition to
                any Lot Release price owed the first-priority lender if the first priority
                security deed remains in effect.

                                                                                    64.

                On February 13, 2018, Springfield withdrew its Objection to Dismissal of

Case.

                                                                                    65.

                On February 16, 2018, the bankruptcy court entered a Final Order Dismissing

Case, a true and correct copy of which is attached hereto as Exhibit 7.

                                                                                    66.

                Springfield did not pay the lot release price of $25,000.00.




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                                                                                    67.

                The sale of Lot 118 did not occur.

                                                                                    68.

                Consequently, Premier foreclosed on its lien on the Monticello Estates

Subdivision, including Lot 118.

                                                                                    69.

                On April 3, 2018, the Deed Under Power of Sale to Premier of the Monticello

Estates Subdivision, Book No. 2993 and Page Nos. 280-283, was filed and recorded

in the Superior Court of Bartow County, Georgia, a true and correct copy of which

is attached hereto as Exhibit 8.

                                                                                    70.

                Premier also purchased Gravity’s priority lien interest on the Monticello

Estates Subdivision for $1.1 million.

                                                                                    71.

                Consequently, Gravity issued a Quitclaim Deed in Satisfaction, Book No.

3012 and Page Nos. 123-125, which was filed and recorded in the Superior Court of

Bartow County, Georgia on June 14, 2018, and a true and correct copy of which is

attached hereto as Exhibit 9.




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                                                                                    72.

                Premier is now the sole record titleholder of the Monticello Estates

Subdivision, including Lot 118.

                                                                                    73.

                Premier dispossessed KDM from the Monticello Estates Subdivision,

including Lot 118, pursuant to Default Judgment and Writ of Possession dated April

25, 2018.

                                                                                    74.

                On May 4, 2018, the Bartow County Sheriff delivered full and quiet

possession of the Monticello Estates Subdivision, including Lot 118, to Premier.

                                                                                    75.

                Premier has entered into a contract to sell Lot 118 and the house located

therein to Stacey Gibson for $182,900.00.

                                                                                    76.

                Premier has also entered into a contract to sell the entire Monticello Estates

Subdivision, Phase 1 (excepting Lot 118). One condition of the closing of said

contract is that Premier must sell Lot 118 at a price no lower than $180,000.00.

                                                                                    77.

                On June 24, 2018, KDM’s registered agent, Danny Earl McDaniel



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(“McDaniel”), sent an email to Premier’s sole manager and member, Dr. Chykeetra

Maltbia, with the subject line: “You Fucked Up!” The body of the email reads in its

entirety:

                You have to either be the dumbest woman I have ever known or you
                are retarded!! You had a legal obligation to notify me by email, certified
                letter or a phone call with both as to doing anything with any of my
                property located on Monticello Subdivision. You had and has always
                had all elements of contact with my company as well as me personally
                in order to legally go by the laws in this respect. I promise you without
                the least remorse that you will pay dearly for what you have done. I
                am legally going to have your ass on a plate!!!!! I will be filing all
                liens against the property for all my assets that you have disposed of
                and the illegal manner in which you have done. I hope, no I am glad
                that you think that nothing was going to happen as to to the dirty way
                you and that shithead husband of yours cheated me out of the many
                thousands of dollars that I had invested in the project. So, get ready
                , the shit is going to hit the fan!!!!! By the way you are going to
                honor the contracts that are in place during the long and costly
                litigation that you are facing. I promise you with all of my being.
                Just be glad that I am not a violent person!!! Most anyone that gets
                fucked the way you have fucked me would have done fucked you both
                up. I hope that the ones you are fucking right now files any and all
                litigation against you both and if they don’t have the money they can
                jump on my band wagon. You will be hearing from all attorneys that
                are involved with this and you better have deep pockets you will
                need them!!!

(emphasis added). A true and correct copy of said June 24, 2018 email from

McDaniel to Dr. Maltbia is attached hereto as Exhibit 10.

                                                                                    78.

                On information and belief, McDaniel, an ex-felon, has acted in a conspiracy



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with Springfield to make fraudulent claims of ownership or color of title to Lot 118.

                                                                                    79.

                On further information and belief, McDaniel, who is not a licensed contractor,

secretly built the home currently located on Lot 118 at the express direction of

Springfield.

                                                                                    80.

                On further information and belief, KDM used monies that KDM and

McDaniel fraudulently obtained from Premier or others to finance the construction

of the home currently located on Lot 118.

                                                                                    81.

                By letter dated June 29, 2018, counsel for Springfield notified Premier that

Springfield filed an Affidavit in the Bartow County real estate records related to the

Agreement and Lot 118.

                                                                                    82.

                True and correct copies of the June 29, 2018 letter from counsel for

Springfield to Premier and the Affidavit, Book No. 3015 and Page Nos. 915-919,

which Springfield filed and recorded in the Superior Court of Bartow County,

Georgia on June 29, 2018 (hereinafter the “Affidavit”) are attached hereto as

Exhibits 11 and 12, respectively.



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                                                                                    83.

                By letter dated July 6, 2018, counsel for Premier responded to the June 29,

2018 letter from counsel for Springfield, objected to the recording of the slanderous

Affidavit, demanded immediate cancellation of record of the Affidavit, and denied

that Springfield had any rights or claims of title to Lot 118 under the Agreement or

otherwise. A true and correct copy of the July 6, 2018 letter from counsel for

Premier to counsel for Springfield is attached hereto as Exhibit 13.

                                                                                    84.

                On July 13, 2018, Springfield wrongfully filed and recorded a Notice of Lis

Pendens on Lot 118, Book No. 218 and Page Nos. 983-984, in the Superior Court of

Bartow County, Georgia, which Springfield also filed in this action.

                                                                           CAUSES OF ACTION

                                                                COUNT ONE – INJUNCTION

                                                                                    85.

                All paragraphs of this Answer and Counterclaim are hereby incorporated into

this paragraph by this reference as if fully restated verbatim herein.

                                                                                    86.

                Springfield wrongfully and illegally filed an Affidavit and Notice of Lis

Pendens on Lot 118.



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                                                                                    87.

                Springfield’s actions are malicious, illegal, and contrary to equity and good

conscience.

                                                                                    88.

                Premier does not have an adequate remedy at law for the continuing wrongful

actions of Springfield.

                                                                                    89.

                If the Court does not grant Premier an injunction, Premier will likely suffer

immediate and irreparable injury, loss, and damage.

                                                                                    90.

                Premier cannot proceed with any sale of Lot 118, and may not be able to

proceed with the sale of the remainder of the Monticello Estates Subdivision, Phase

1, unless and until the Affidavit and Notice of Lis Pendens is cancelled and removed

from the record.

                                                                                    91.

                The Court should enter an interlocutory injunction and a permanent injunction

enjoining Springfield from interfering with Premier’s ownership of the Monticello

Estates Subdivision, enjoining Springfield, from making, filing, or recording any

claim of title upon the subject property, and requiring the cancellation and removal



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from the record of Springfield’s Affidavit and Notice of Lis Pendens.

                                              COUNT II – DECLARATORY JUDGMENT

                                                                                    92.

                All paragraphs of this Answer and Counterclaim are hereby incorporated into

this paragraph by this reference as if fully restated verbatim herein.

                                                                                    93.

                Premier is entitled to a Declaratory Judgment that the Agreement is

unenforceable, void for vagueness, and lacks consideration and that Springfield’s

Affidavit and Notice of Lis Pendens are void and without legal effect.

                                                          COUNT III – SLANDER OF TITLE

                                                                                    94.

                All paragraphs of this Answer and Counterclaim are hereby incorporated into

this paragraph by this reference as if fully restated verbatim herein.

                                                                                    95.

                Premier is the sole owner of record and titleholder of the Monticello Estates

Subdivision, including Lot 118.

                                                                                    96.

                Springfield has wrongfully filed and recorded the Affidavit and the Notice of

Lis Pendens, which purport to make a claim of title to Lot 118 and to enforce a



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purported contractual right to title.

                                                                                    97.

                Springfield alleged facts in the Affidavit and the Notice of Lis Pendens that

are false and malicious.

                                                                                    98.

                Premier has sustained special damages as a result of Springfield’s slanderous

statements in the Affidavit and the Notice of Lis Pendens related to Lot 118.

                                                                                    99.

                As a direct result of Springfield’s malicious slander of title, Premier cannot

proceed with any sale of Lot 118, has incurred monetary damages of at least

$182,900.00, and may not be able to proceed with the sale of the remainder of the

Monticello Estates Subdivision, Phase 1.

                                                                                  100.

                Premier is entitled to compensation from Springfield for all damages suffered

by Premier caused by the slander of title by Springfield.

           COUNT IV – ATTORNEYS’ FEES AND EXPENSES OF LITIGATION

                                                                                  101.

                All paragraphs of this Answer and Counterclaim are hereby incorporated into

this paragraph by this reference as if fully restated verbatim herein.



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                                                                                  102.

                Springfield is liable to Premier for all reasonable attorneys’ fees and expenses

of litigation of Premier incurred in pursuing claims in this action against Springfield

and defending claims in this action by Springfield.

                                                                                  103.

                Premier has suffered and will continue to suffer substantial damages caused

by Springfield for all reasonable attorneys’ fees and expenses of litigation of Premier

incurred in pursuing claims in this action against Springfield and defending claims

in this action by Springfield.

                                                                                  104.

                Springfield has acted in bad faith, has been stubbornly litigious, and has forced

Premier to suffer unnecessary trouble and expense.

      COUNT V – PUNITIVE, DETERRENCE, AND EXEMPLARY DAMAGES

                                                                                  105.

                All paragraphs of this Answer and Counterclaim are hereby incorporated into

this paragraph by this reference as if fully restated verbatim herein.

                                                                                  106.

                Springfield has committed intentional, willful, and malicious torts and

breaches upon Premier and is liable to Premier for punitive, deterrence, and



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exemplary damages.

                                                                                  107.

                Springfield’s acts, omissions, breaches, violations of duties, violations of law,

and tortious conduct have damaged Premier in an amount to be proven at trial.

                                                                                  108.

                Springfield’s actions demonstrate willful misconduct, malice, fraud,

wantonness, oppression, and that entire want of care which raises the presumption

of conscious indifference to consequences.

                                                                                  109.

                Springfield has acted (and has failed to act when required by law to act) with

the specific intent to cause harm to Premier, and, thus, Premier is entitled to recover

punitive, deterrence, and exemplary damages without limitation from Springfield in

an amount to be determined by the enlightened conscience of an impartial jury.

                                                                         PRAYER FOR RELIEF

                WHEREFORE, Premier respectfully demands a jury trial on all issues in this

action legally triable to a jury and respectfully requests the following relief:

                (a)             That the Court enter an Order requiring the cancellation and removal of

Springfield’s Affidavit and Notice of Lis Pendens upon the subject property;

                (b)             That the Court enter an interlocutory injunction and a permanent



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injunction enjoining Springfield from interfering with Premier’s ownership of the

Monticello Estates Subdivision and from making, filing, or recording any claim of

title upon the subject property;

                (c)             That the Court enter a Declaratory Judgment that the Agreement is

unenforceable, void for vagueness, and lacks consideration and that Springfield’s

Affidavit and Notice of Lis Pendens are void and without legal effect;

                (d)             That Premier be awarded judgment in this action against Springfield on

the basis of the claims and damages set forth in this Answer and Counterclaim,

including, but not limited to, compensatory damages, special damages,

consequential damages, and other damages;

                (e)             That Premier be awarded judgment in this action against Springfield for

all reasonable attorneys’ fees and expenses of litigation incurred by Premier for the

prosecution of this action, the pursuit of claims set forth in this action, and the

defense of claims by Springfield in this action;

                (f)             That Premier be awarded judgment in this action against Springfield for

all costs of this action;

                (g)             That Premier be awarded judgment in this action against Springfield for

both prejudgment and post-judgment interest;

                (h)              That Premier be awarded judgment in this action for punitive,



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deterrence, and exemplary damages against Springfield in an amount to be

determined by the enlightened conscience of an impartial jury and in accordance

with law;

                (i)             That Premier be awarded judgment in this action against Springfield for

all relief prayed for by Premier in this Answer and Counterclaim; and

                (j)             That Premier be awarded judgment in this action against Springfield for

such additional damages, remedies, or relief as this Court may deem just and proper.

Dated:                          August 15, 2018                                  Respectfully submitted,


                                                                                 /s/ Maggie M. Heim
                                                                                 EDWIN J. SCHKLAR
                                                                                 Georgia Bar No. 629315
                                                                                 MAGGIE M. HEIM
                                                                                 Georgia Bar No. 001339
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                                                                                 Investments, LLC
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